 Case 1:17-cv-00154-RGA Document 29 Filed 10/13/17 Page 1 of 2 PageID #: 91



                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE

 Robert Fiumefreddo,                        )
                                            )
               Plaintiff,                   )
                                            )
        v.                                  )      CASE NO. 1:17-cv-00154

 Barclays Bank Delaware and Experian        )
 Information Solutions, Inc.,               )
                                            )
               Defendants.                  )
                                            )
                                            )
                                            )

  STIPULATION OF DISMISSAL WITH PREJUDICE BETWEEN PLAINTIFF
     AND DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.


       Plaintiff Robert Fiumefreddo (“Plaintiff”), by counsel, and Defendant Experian

Information Solutions, Inc. (“Experian”), by counsel, hereby stipulate and agree that all

matters herein between them have been compromised and settled, and that Plaintiff’s

cause of action against Experian should be dismissed, with prejudice, with each party to

bear its own costs and attorneys’ fees.
Case 1:17-cv-00154-RGA Document 29 Filed 10/13/17 Page 2 of 2 PageID #: 92



Dated: October 13, 2017              Respectfully submitted,


                                     /s/ Mark C. Zheng
                                     Mark C. Zheng
                                     JONES DAY
                                     500 Grant Street, Suite 4500
                                     Pittsburgh, PA 15219
                                     Telephone: 412-394-7916

                                     Travis S. Hunter
                                     RICHARDS, LAYTON & FINGER, P.A.
                                     One Rodney Square
                                     920 N. King Street
                                     Wilmington, DE 19801
                                     Telephone: 302-651-7700
                                     hunter@rlf.com

                                     Attorneys for Defendant
                                     Experian Information Solutions, Inc.


                                     /s/ Antranig Garibian
                                     Antranig Garibian
                                     GARIBIAN LAW OFFICES, P.C.
                                     1010 N. Bancroft Parkway, Suite 22
                                     Wilmington, DE 19805
                                     Telephone: 302-722-6885
                                     ag@garibianlaw.com

                                     Attorney for Plaintiff Robert Fiumefreddo
